462 F.2d 180
    9 Fair Empl.Prac.Cas.  770,20 Wage &amp; Hour Cas. (BN 697,4 Empl. Prac. Dec. P 7880, 68 Lab.Cas.  P 32,711
    James D. HODGSON, Secretary of Labor, United StatesDepartment of Labor, Appellee,v.BALTIMORE REGIONAL JOINT BOARD, AMALGAMATED CLOTHING WORKERSOF AMERICA, AFL-CIO, Appellant.
    No. 71-1728.
    United States Court of Appeals,
    Fourth Circuit.
    Argued May 30, 1972.Decided June 16, 1972.
    
      Bernard W. Rubenstein, Baltimore, Md.  (Jacob J. Edelman, Bernard P. Jeweler, and Edelman, Levy, &amp; Rubenstein, Baltimore, Md. on brief), for appellant.
      Carin Ann Clauss, Asst. Sol., U. S. Department of Labor (Richard F. Schubert, Solicitor of Labor, Donald S. Shire, Anastasia T. Dunau, Sylvia S. Ellison, Attys., Washington, D. C., and Louis Weiner, Regional Sol., on brief), for appellee.
      Before SOBELOFF, Senior Circuit Judge, and WINTER and CRAVEN, Circuit Judges.
      PER CURIAM:
    
    
      1
      The Baltimore Regional Joint Board, Amalgamated Clothing Workers of America, AFL-CIO [Union] prosecutes this appeal from a judgment of the District Court imposing upon it joint and several liability with Sagner, Inc., a clothing manufacturer.  The employer discriminated against certain women employees by paying them less than their male counterparts for equivalent work.  Sagner finally admitted the discrimination and offered to make restitution.  But at the instigation of the appellant Union and in violation of the Fair Labor Standards Act of 1938, 29 U.S.C. Sec. 201 et seq., the major part of the arrearage due was diverted to increase the pay of another group of employees also represented by the Union.
    
    
      2
      For reasons sufficiently indicated by the District Court, Hodgson v. Sagner, Inc., 326 F.Supp. 371 (D.Md.1971), we agree that the court was within its general equitable powers in imposing such liability upon the Union.  The judgment is therefore
    
    
      3
      Affirmed.
    
    